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Form JTG31 (07/15)
                                                   United States Bankruptcy Court
                                                    Western District of Michigan
                                                        One Division Ave., N.
                                                              Room 200
                                                       Grand Rapids, MI 49503


 IN RE: Debtor (name used by the debtor in the last 8 years,
 including married, maiden, trade, and address):
                                                                                  Case Number 21−01012−jtg
           Patricia A. Wilson
           48 Rose Street                                                         Chapter 13
           Coldwater, MI 49036
           SSN: xxx−xx−5146                                                       Honorable John T. Gregg
                                                                 Debtor



            NOTICE OF RESCHEDULED CHAPTER 13 CONFIRMATION HEARING

   PLEASE BE ADVISED that a Notice of Chapter 13 Bankruptcy Case, Meeting of Creditors & Deadlines,
was served upon all creditors and parties of interest in the above−referenced bankruptcy proceeding. The
hearing on confirmation was previously scheduled for 6/22/2021 . Notice is hereby given that the hearing
on confirmation of the debtor(s) Chapter 13 Plan has been rescheduled to be held at the United States
Bankruptcy Court, Federal Building, U.S. Courthouse, Room 114, 410 W. Michigan Avenue,
Kalamazoo, MI 49007 on June 15, 2021 at 09:00 AM .

PLEASE NOTE: The above hearing may be adjourned or continued one or more times by telephonic or written request if no
objection is made at the hearing or by oral request at the hearing if no objection is made or if the objection is overruled. The court
may also sua sponte adjourn or continue the hearing one or more times. If an adjournment or continuance of the above hearing
is permitted, parties in interest will not be given written notice of the adjourned or continued date or any subsequent adjournment
or continuance. Information regarding the time, date and place of any adjourned or continued hearing may be accessed through
the Bankruptcy Court's web site (www.miwb.uscourts.gov) provided the person has a PACER login and password, or by visiting
the Clerk's Office of the United States Bankruptcy Court located at One Division, N., 2nd Floor, Grand Rapids, Michigan.
Information about a PACER login and password may be obtained by either contacting the PACER service center by telephone
between 8:00 a.m. and 5:00 p.m. Monday through Friday CST at (800) 676−6856 or via its web site at
http://pacer.psc.uscourts.gov.




                                                                           Michelle M. Wilson
                                                                           CLERK OF BANKRUPTCY COURT



Dated: May 20, 2021                                                        /S/
                                                                           V. Wyn
                                                                           Deputy Clerk


This Notice shall be served by the Court via electronic notification and transmitted to the Bankruptcy
Noticing Center for service upon all creditors and parties of interest appearing of record herein. ( 5/20/21 −
vkw )

1 Aliases for Debtor Patricia A. Wilson : dba Conant's Accounting 38−2137271
